Case 1:17-cv-05127-NLH-KMW Document 32 Filed 05/08/18 Page 1 of 11 PageID: 168



                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


     KENNETH HARDEN,                      No. 1:17-cv-5127 (NLH/KMW)

                    Plaintiff,            OPINION

           v.

     THE CITY OF MILLVILLE, CHIEF
     JODY FARABELLA, individually
     and in his official capacity,
     OFFICER JEFFREY PROFFIT,

                    Defendants.


 APPEARANCES:

 MELISSA YVETTE HOFFMAN
 CONRAD J. BENEDETTO
 LAW OFFICES OF CONRAD J. BENEDETTO
 1233 HADDONFIELD-BERLIN ROAD
 SUITE 1
 VOORHEES, NJ 08043
      On behalf of Plaintiff

 KEITH ALTMAN (pro hac)
 SOLOMON RADNER (pro hac)
 EXCOLO LAW, PLLC
 26700 LAHSER ROAD, SUITE 401
 SOUTHFIELD, MI 48033
      On behalf of Plaintiff

 THOMAS B. REYNOLDS
 REYNOLDS & HORN, P.C.
 A PROFESSIONAL CORPORATION
 750 ROUTE 73 SOUTH
 SUITE 202 A
 MARLTON, NJ 08053
      On behalf of Defendants The City of Millville and Chief
      Jody Farabella

 PATRICK JOSEPH MADDEN
 MADDEN & MADDEN, PA
 108 KINGS HIGHWAY EAST
Case 1:17-cv-05127-NLH-KMW Document 32 Filed 05/08/18 Page 2 of 11 PageID: 169



 SUITE 200
 PO BOX 210
 HADDONFIELD, NJ 08033-0389
      On behalf of Defendant Officer Jeffrey Proffit



 HILLMAN, District Judge

       This matter concerns various § 1983 and related state law

 claims by Plaintiff Kenneth Harden against Defendants the City

 of Millville, Chief Jody Farabella, and Officer Jeffrey Proffit.

 Before the Court is a motion to dismiss by the City of Millville

 and Farabella based on the statute of limitations.          For the

 reasons set forth below, the Court will grant the motion.

                                     I.

       The Court takes its facts from Plaintiff’s Second Amended

 Complaint.    In 2015, Plaintiff and a companion were driving in

 the City of Millville when they were stopped by Officer Proffit

 of the City of Millville Police Department.         After stopping

 Plaintiff, Proffit “forced Plaintiff out of his vehicle and

 without provocation punched Plaintiff numerous times in the face

 and about his body.”     Fearing for his safety, Plaintiff

 attempted to flee.     He was chased by Proffit who pulled out his

 service weapon.     In response, Plaintiff stopped running and was

 apprehended.

       Proffit then “pushed and shoved Plaintiff to the ground,”

 where “Officer Proffit attempted unsuccessfully to shove his


                                      2
Case 1:17-cv-05127-NLH-KMW Document 32 Filed 05/08/18 Page 3 of 11 PageID: 170



 service gun into Plaintiff’s mouth.”        He then “pistol-whipped

 Plaintiff on the back-right side of his head causing Plaintiff’s

 head to split open and begin bleeding.”

       Plaintiff was taken to the Millville Police Headquarters

 where he was charged with resisting arrest.         After being

 processed, Plaintiff was transported to Inspira Hospital in

 Vineland, New Jersey, where he received multiple staples to his

 head.   In addition to the injury to his head, Plaintiff also had

 other abrasions, scratches, and bruises on his face and torso.

 He also had a headache and injury to the middle finger on his

 right hand.    As a result of the 2015 incident, Plaintiff has

 suffered continuously from nightmares and dizziness.

       Plaintiff filed a Second Amended Complaint in this matter

 on July 18, 2017.     Plaintiff’s Second Amended Complaint asserts

 eight counts against Defendants: (1) a § 1983 claim appearing to

 be a Monell 1 claim, (2) what appears to be a § 1983 claim under

 the Eighth and Fourteenth Amendments, (3) a § 1983 claim for

 supervisory liability, (4) a claim for violation of the New

 Jersey Civil Rights Act, N.J.S.A. 10:6-1, (5) battery, (6)

 negligence, (7) a § 1983 claim under the Fourth Amendment for

 unlawful arrest, and (8) a § 1983 claim under the Fourth

 Amendment for excessive force.


 1     Monell v. Dep’t of Soc. Servs., 436 U.S. 658 (1978).


                                      3
Case 1:17-cv-05127-NLH-KMW Document 32 Filed 05/08/18 Page 4 of 11 PageID: 171



       All Defendants answered on August 10, 2017, specifically

 asserting a statute of limitations defense.         On October 12,

 2017, Defendants the City of Millville and Farabella filed their

 motion to dismiss. 2

                                     II.

       This Court has federal question jurisdiction pursuant to 28

 U.S.C. § 1331, as Plaintiff brings claims under 42 U.S.C.

 § 1983.   The Court exercises supplemental jurisdiction over the

 state law claims pursuant to 28 U.S.C. § 1367.

                                    III.

       When considering a motion to dismiss a complaint for

 failure to state a claim upon which relief can be granted

 pursuant to Federal Rule of Civil Procedure 12(b)(6), a court

 must accept all well-pleaded allegations in the complaint as

 true and view them in the light most favorable to the plaintiff.

 Evancho v. Fisher, 423 F.3d 347, 351 (3d Cir. 2005).          It is well


 2    Proffit does not appear to have joined in the motion to
 dismiss. Proffit filed a motion to stay the case as to Proffit
 on September 14, 2017, which was granted by Magistrate Judge
 Karen Williams on November 7, 2017. Co-defendants joined in
 that motion by way of a September 19, 2017 letter, requesting
 the matter be stayed as to all parties. While Magistrate Judge
 Williams’ Order stayed this case, Magistrate Judge Williams was
 advised by Defendants’ the City of Millville and Farabella, who
 filed their Motion to Dismiss after Proffit’s Motion to Stay,
 that they still requested a decision on this motion even in
 light of the stay. In light of the disposition of the current
 motion the Court will issue an Order to Show Cause as to why
 this matter should not be dismissed as to Defendant Proffit as
 well.
                                      4
Case 1:17-cv-05127-NLH-KMW Document 32 Filed 05/08/18 Page 5 of 11 PageID: 172



 settled that a pleading is sufficient if it contains “a short

 and plain statement of the claim showing that the pleader is

 entitled to relief.”     Fed. R. Civ. P. 8(a)(2).

       “While a complaint attacked by a Rule 12(b)(6) motion to

 dismiss does not need detailed factual allegations, a

 plaintiff’s obligation to provide the ‘grounds’ of his

 ‘entitle[ment] to relief’ requires more than labels and

 conclusions, and a formulaic recitation of the elements of a

 cause of action will not do . . . .”        Bell Atl. Corp. v.

 Twombly, 550 U.S. 544, 555 (2007) (alteration in original)

 (citations omitted) (first citing Conley v. Gibson, 355 U.S. 41,

 47 (1957); Sanjuan v. Am. Bd. of Psychiatry & Neurology, Inc.,

 40 F.3d 247, 251 (7th Cir. 1994); and then citing Papasan v.

 Allain, 478 U.S. 265, 286 (1986)).

            To determine the sufficiency of a complaint, a
       court must take three steps.    First, the court must
       “tak[e] note of the elements a plaintiff must plead to
       state a claim.”    Second, the court should identify
       allegations that, “because they are no more than
       conclusions, are not entitled to the assumption of
       truth.” Third, “whe[n] there are well-pleaded factual
       allegations, a court should assume their veracity and
       then determine whether they plausibly give rise to an
       entitlement for relief.”

 Malleus v. George, 641 F.3d 560, 563 (3d Cir. 2011) (alterations

 in original) (citations omitted) (quoting Ashcroft v. Iqbal, 556

 U.S. 662, 664, 675, 679 (2009)).




                                      5
Case 1:17-cv-05127-NLH-KMW Document 32 Filed 05/08/18 Page 6 of 11 PageID: 173



       A district court, in weighing a motion to dismiss, asks

 “not whether a plaintiff will ultimately prevail but whether the

 claimant is entitled to offer evidence to support the claim.”

 Twombly, 550 U.S. at 563 n.8 (quoting Scheuer v. Rhoades, 416

 U.S. 232, 236 (1974)); see also Iqbal, 556 U.S. at 684 (“Our

 decision in Twombly expounded the pleading standard for ‘all

 civil actions’ . . . .”); Fowler v. UPMC Shadyside, 578 F.3d

 203, 210 (3d Cir. 2009) (“Iqbal . . . provides the final nail in

 the coffin for the ‘no set of facts’ standard that applied to

 federal complaints before Twombly.”).        “A motion to dismiss

 should be granted if the plaintiff is unable to plead ‘enough

 facts to state a claim to relief that is plausible on its

 face.’”   Malleus, 641 F.3d at 563 (quoting Twombly, 550 U.S. at

 570).

                                     IV.

       Defendants’ motion asks for dismissal based on the statute

 of limitations.     Accordingly, the Court begins by determining

 the relevant statute of limitations that applies to this action.

       Five counts of Plaintiff’s Second Amended Complaint appear

 to assert various § 1983 claims arising from Plaintiff’s arrest.

 “State law provides the statute of limitations applicable to a

 section 1983 claim.”     Dique v. N.J. State Police, 603 F.3d 181,

 185 (3d Cir. 2010).     “A section 1983 claim is characterized as a

 personal-injury claim and thus is governed by the applicable

                                      6
Case 1:17-cv-05127-NLH-KMW Document 32 Filed 05/08/18 Page 7 of 11 PageID: 174



 state’s statute of limitations for personal-injury claims.”            Id.

 N.J.S.A. 2A:14-2 provides: “Every action at law for an injury to

 the person caused by the wrongful act, neglect or default of any

 person within this State shall be commenced within two years

 next after the cause of any such action shall have accrued

 . . . .”   Accordingly, the statute of limitations for

 Plaintiff’s § 1983 claims is two years.

       Plaintiff also brings claims under the New Jersey Civil

 Rights Act and for battery and negligence.         These, too, have a

 statute of limitations of two years.        Lapolla v. County of

 Union, 157 A.3d 458, 464 (N.J. Super. Ct. App. Div. 2017) (“The

 statute of limitations for claims under the NJCRA is two years.”

 (citing N.J.S.A. 2A:14-2(a))); Dean v. Deptford Township, No.

 13-5197, 2015 U.S. Dist. LEXIS 42619, at *7 (D.N.J. Apr. 1,

 2015) (“The statute of limitations for Plaintiff’s common law

 assault and battery claims is . . . two years pursuant to N.J.

 Stat. Ann. § 2A:14-2.”); Rolax v. Whitman, 175 F. Supp. 2d 720,

 725 (D.N.J. 2001) (“The New Jersey statute of limitations for

 claims asserting personal injuries is two years.          Thus, [the]

 § 1983 claims and the common law battery claim . . . are

 governed by the same two-year statute of limitations.” (citation

 omitted) (citing N.J.S.A. 2A:14-2)); Yarchak v. Trek Bicycle

 Corp., 208 F. Supp. 2d 470, 478 (D.N.J. 2002) (“New Jersey’s

 statute of limitations governing personal injury claims,

                                      7
Case 1:17-cv-05127-NLH-KMW Document 32 Filed 05/08/18 Page 8 of 11 PageID: 175



 including claims sounding in negligence . . . , is found at

 N.J.S.A. 2A:14-2 . . . .”); GMC v. City of Linden, 671 A.2d 560,

 567 (N.J. 1996) (“The statute of limitations for personal injury

 claims based on negligence, including section 1983 claims, is

 two years.”).

       The Court next must determine the date of accrual of

 Plaintiff’s claims.     “Federal law . . . governs the issue of

 what constitutes accrual.”      Dique, 603 F.3d at 185.      “Accrual is

 the occurrence of damages caused by a wrongful act – ‘when a

 plaintiff has “a complete and present cause of action,” that is,

 when “the plaintiff can file suit and obtain relief.”’”           Id.

 (quoting Wallace v. Kato, 549 U.S. 384, 388 (2007)).

       The Court finds the date of Plaintiff’s arrest is the date

 of accrual.    Plaintiff disputes this, citing Kossler v.

 Crisanti, 564 F.3d 181 (3d Cir. 2009) for the proposition that

 “a § 1983 claim based on violation of constitutional rights does

 not accrue until proceedings against a criminal defendant are

 dismissed.”    Kossler states: “[W]e have held that a prior

 criminal case must have been disposed of in a way that indicates

 the innocence of the accused in order to satisfy the favorable

 termination element.”     Id. at 187.     In Kossler, however, the

 Third Circuit was discussing a malicious prosecution claim, in

 which favorable termination is an element of the claim.           Id. at

 186 (“To prove malicious prosecution under § 193, a plaintiff

                                      8
Case 1:17-cv-05127-NLH-KMW Document 32 Filed 05/08/18 Page 9 of 11 PageID: 176



 must show that . . . the criminal proceeding ended in

 plaintiff’s favor.” (quoting Estate of Smith v. Marasco, 318

 F.3d 497, 512 (3d Cir. 2003))).       Plaintiff’s Second Amended

 Complaint does not assert a cause of action for malicious

 prosecution.     The Court finds the accrual date is the date of

 arrest.

       The actual date of Plaintiff’s arrest also warrants

 discussion.    Plaintiff’s Second Amended Complaint pleads that

 the incident occurred on July 16, 2015.        Typically, on a motion

 to dismiss, this Court is required to accept all factual

 allegations in a complaint as true.        The Certification of Thomas

 B. Reynolds, however, states:

       As set forth in the certification of Millville City
       Police Department Detective William A. Loteck, dated
       October 9, 2017, . . . Detective Loteck certifies that
       according to Millville Police Department records, the
       charges in question were filed as a result of an arrest
       made by co-defendant Police Officer Jeffrey Proffit on
       June 15, 2015, or over one month prior to the date of
       the relevant events as alleged by plaintiff in his
       original and amended complaints.

 The Certification of William A. Loteck confirms the same.

 Attached to Defendants’ Motion to Dismiss is Plaintiff’s Arrest

 Report.

       “In deciding motions to dismiss pursuant to Federal Rule of

 Civil Procedure 12(b)(6), courts generally consider only the

 allegations in the complaint, exhibits attached to the

 complaint, matters of public record, and documents that form the

                                      9
Case 1:17-cv-05127-NLH-KMW Document 32 Filed 05/08/18 Page 10 of 11 PageID: 177



 basis of a claim.”      Lum v. Bank of Am., 361 F.3d 217, 221 n.3

 (3d Cir. 2004).     The Court will consider the Arrest Report in

 deciding this Motion to Dismiss.          “On a motion to dismiss, . . .

 the Court may consider undisputedly authentic documents upon

 which the plaintiff’s complaint is based.”         Kelly v. City of

 Newark, No. 17-0498, 2018 U.S. Dist. LEXIS 44528, at *19 n.5

 (D.N.J. Mar. 16, 2018).      “A document falls into this category

 even where the complaint does not cite or ‘explicitly rely[]’ on

 it; ‘[r]ather, the essential requirement is that the plaintiff’s

 claim be “based on that document.”’”         Id. (alteration in

 original) (quoting Brusco v. Harleysville Ins. Co., No. 14-914,

 2014 U.S. Dist. LEXIS 86794, at *5 (D.N.J. June 26, 2014)).             In

 Kelly, the court found “Plaintiffs Amended Complaint [wa]s

 squarely derived from Plaintiff’s allegedly unlawful arrest and

 the criminal complaint filed against him in relation to the

 arrest.”    Id.   Accordingly, the court “consider[ed] Plaintiff’s

 Judgment of Dismissal and Arrest Report.”         Id.

       Plaintiff’s Arrest Report lists the date of arrest as June

 15, 2015 and the date of offense as June 15, 2015.           Notably,

 Plaintiff does not appear to contest the date.          His brief, at

 all times, refers to a June 15, 2015 arrest.          At no point does

 Plaintiff reference a July arrest.         In short, it appears to be

 an uncontested, incontrovertible, and indeed admitted fact,

 derived from an undisputedly authentic document from a public

                                      10
Case 1:17-cv-05127-NLH-KMW Document 32 Filed 05/08/18 Page 11 of 11 PageID: 178



 agency, that the incident that forms the basis for all of

 Plaintiff’s claims occurred on June 15, 2015.

       Having determined that the date of accrual of Plaintiff’s

 claims resulting from the arrest is June 15, 2015, the Court

 finds all of Plaintiff’s claims barred by the statute of

 limitations.     As even Plaintiff’s earliest filed complaint,

 filed on July 13, 2017, was filed two years after the June 15,

 2015 arrest, Plaintiff’s claims fall outside the statute of

 limitations and the Court finds them barred.          The Court will

 consequently dismiss all claims against the City of Millville

 and Farabella.

       An appropriate Order will be entered.




 Date: May 8, 2018                          s/ Noel L. Hillman
 At Camden, New Jersey                     NOEL L. HILLMAN, U.S.D.J.




                                      11
